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                  Supreme Court of the United States
                         Office of the Clerk
                     Washington, DC 20543-0001
                                                                 Scott S. Harris
                                                                 Clerk of the Court
                                                                 (202) 479-3011
                                 September 18, 2024


Clerk
United States Court of Appeals for the First Circuit
United States Courthouse
1 Courthouse Way
Boston, MA 02210


      Re: Michael Bush, et al.
          v. Linda Fantasia, et al.
          No. 24-306
          (Your No. 22-1755)


Dear Clerk:

     The petition for a writ of certiorari in the above entitled case was filed on
September 12, 2024 and placed on the docket September 18, 2024 as No. 24-306.




                                       Sincerely,

                                       Scott S. Harris, Clerk

                                       by

                                       Susan Frimpong
                                       Case Analyst
